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                                 UNITED STATES DISTRICT COURT W. D. OF WASHINGTON AT TACOMA

 1
         UNITED STATES OF AMERICA,
 2                                             Plaintiff,                       Case No. CR08-5125BHS


 3                          v.                                                  DETENTION ORDER


 4       DENNIS STENGEL,
                                               Defendant.
 5

 6             THE COURT, having conducted a detention hearing pursuant to 18 U.S.C. §3142, finds that no condition or combination
     of conditions which defendant can meet will reasonably assure the appearance of the defendant as required and/or the safety of any
 7   other person and the community.

 8            This finding is based on 1) the nature and circumstances of the offense(s) charged, including whether the offense is a
     crime of violence or involves a narcotic drug; 2) the weight of the evidence against the person; 3) the history and characteristics of
 9   the person including those set forth in 18 U.S.C. § 3142(g)(3)(A)(B); and 4) the nature and seriousness of the danger release would
     impose to any person or the community.
10
                                             Findings of Fact/ Statement of Reasons for Detention
11
     Presumptive Reasons/Unrebutted:
12   ( )    Conviction of a Federal offense involving a crime of violence. 18 U.S.C.§3142(f)(A)
     ( )    Potential maximum sentence of life imprisonment or death. 18 U.S.C.§3142(f)(B)
13   (X)    Potential maximum sentence of 10+ years as prescribed in the Controlled Substances Act (21 U.S.C.§801 et seq.), the
            Controlled Substances Import and Export Act (21 U.S.C.§951 et seq.) Or the Maritime Drug Law Enforcement Act (46
14          U.S.C. App. 1901 et seq.)

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     Safety/Danger Reasons:
16
      (X)     Defendant’s prior criminal history involving meth; controlled buys of meth were conducted from his residence which
17            involved his fiancé who is facing similar state charges; a co-defendant resided in a residence on the same property of the
              Defendant; Defendant’s alleged involvement in the sale and distribution of meth into the community show by clear and
18            convincing evidence that the Defendant is a danger to the community.

19   Flight Risk/Appearance Reasons:
     ( )     Defendant’s lack of appropriate residence..
20   ( X ) Detainer(s)/Warrant(s) from other jurisdictions.
     (X)     Failures to appear for past court proceedings.
21   (X)     Past conviction for escape.

22                                                             Order of Detention

23   <        The defendant shall be committed to the custody of the Attorney General for confinement in a corrections facility
              separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal.
24   <        The defendant shall be afforded reasonable opportunity for private consultation with counsel.
     <        The defendant shall on order of a court of the United States or on request of an attorney for the Government, be delivered
25            to a United States marshal for the purpose of an appearance in connection with a court proceeding.

26                                                  April 7, 2008.

27                                                  __s/Karen L. Strombom
                                                    Karen L Strombom, U.S. Magistrate Judge
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     DETENTION ORDER
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